Case: 23-2669   Document: 46     Page: 1      Date Filed: 06/20/2024




                          No. 23-2669


    IN THE UNITED STATES COURT OF APPEALS
            FOR THE THIRD CIRCUIT


                    JOSE MONTANEZ,

                      Plaintiff-Appellant,

                                v.

                    PAULA PRICE, et al.,

                    Defendants-Appellees.


           On Appeal from the U.S. District Court
            for the Middle District of Pennsylvania,
          No. 3:22-CV-01267, Hon. Robert D. Mariani


            APPELLANT’S OPENING BRIEF


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                Case: 23-2669              Document: 46                Page: 2            Date Filed: 06/20/2024




                                               TABLE OF CONTENTS



ARGUMENT .......................................................................................................................... 1

   I.        Montanez Stated a Claim Under the ADA. ............................................................. 1

        a)     Montanez sued the correct defendant................................................................... 1

        b) Montanez’s disability law claims were not based on medical malpractice. ....... 3

   II. The District Court Erred in Dismissing Montanez’s Eighth Amendment

   Claims. .................................................................................................................................. 4

   III. Even Were This Court to Agree with the District Court’s Conclusions,

   Montanez Should Be Given an Opportunity to Amend. ............................................... 6

CONCLUSION .................................................................................................................... 10

CERTIFICATE OF COMPLIANCE ............................................................................... 11

CERTIFICATE OF SERVICE .......................................................................................... 12
              Case: 23-2669                Document: 46                 Page: 3            Date Filed: 06/20/2024




                                            TABLE OF AUTHORITIES

Cases

Bryant v. Madigan. 84 F.3d 246 (7th Cir. 1996) ..................................................................... 4

Connecticut et al. v. Sandoz, Inc. et al., 2:20-cv-03539 (E.D. Pa. Jul 20, 2020) ...................... 9

Davis v. New Jersey Dep’t of Corr., No. 10-cv-6439, 2011 WL 5526081 (D. N.J. Nov. 14,

   2011) ..................................................................................................................................... 2

Durham v. Kelley, 82 F.4th 217 (3d Cir. 2023) ...................................................................1, 2

Estelle v. Gamble. 429 U.S. 97 (1976) ...................................................................................... 6

Harpo v. U.S. Marshal Serv. Deputy Supervisor, No. 1:21-cv-4827, 2022 WL 22329121

   (N.D. Ga. Feb. 1, 2022 ..................................................................................................... 10

Isley v. Beard, 200 F. App’x 137 (3d Cir. 2006)...................................................................... 3

Tennessee v. Lane, 541 U.S. 509 (2004) .................................................................................... 1

United States v. Dupree, 617 F.3d 724, 728 (3d Cir. 2010) .................................................... 7

United States v. Georgia, 546 U.S. 151 (2006) .......................................................................... 1

Will v. Michigan Department of State Police, 491 U.S. 58 (1989) .............................................. 2

Statutes

42 U.S.C. § 1983 ...................................................................................................................... 2

Rules

Fed. R. Civ. P. 15(a)(1)(B) ...................................................................................................... 9
          Case: 23-2669      Document: 46      Page: 4     Date Filed: 06/20/2024




                                       ARGUMENT

   I.      Montanez Stated a Claim Under the ADA.

        The Government Defendants offer two reasons that Montanez failed to state a

claim under the ADA. Neither was the basis for the district court’s decision. See App.

20–22. First, they suggest that Montanez did not sue the correct defendant because

none of the individual defendants can be sued in their individual capacities under

disability law. This is probably true but irrelevant. Second, they suggest that Montanez

only alleged deprivations of medical care, which are not actionable under the ADA.

This is not true.

   a) Montanez sued the correct defendant.

        Defendants argue that Title II of the ADA does not permit suit against state

officials in their individual capacities. Ans. Br. I 25–26. Montanez did not argue

otherwise.

        Cases brought under Title II of the ADA are against “public entities.” When

suing the state, the appropriate defendant is therefore the state itself. See, e.g., United

States v. Georgia, 546 U.S. 151 (2006); Tennessee v. Lane, 541 U.S. 509 (2004). In practice,

courts often characterize these cases as against the relevant state agency, here the

Pennsylvania Department of Corrections. See, e.g., Pennsylvania Dep’t of Corr. v. Yeskey,

524 U.S. 206 (1998); Furgess v. Pennsylvania Dep’t of Corr., 933 F.3d 285, 288 (3d Cir. 2019).

Other times, courts characterize these case as against defendants in their official

capacities. See, e.g., Durham v. Kelley, 82 F.4th 217, 227 (3d Cir. 2023). As this Court

                                              1
          Case: 23-2669      Document: 46       Page: 5      Date Filed: 06/20/2024




explained in Durham by quoting Will v. Michigan Department of State Police, 491 U.S. 58, 71

(1989), a “suit against a state official in his or her official capacity is not a suit against

the official but rather is a suit against the official’s office. As such, it is no different from

a suit against the State itself.” 82 F.4th at 227 n.33. These three characterizations—the

state, the state agency, and state officials in their official capacities—are often used

interchangeably and without elaboration because they all mean the same thing: the

defendant is the state.

       Montanez sued the Commonwealth of Pennsylvania. App. 7 n.2; App. 35. When

the district court dismissed the Commonwealth because it was not a “person” under 42

U.S.C. § 1983—a correct conclusion as to Montanez’s constitutional claims but not to

his disability claims—Montanez attempted to add the Commonwealth back in,

clarifying that it was the appropriate defendant for his ADA claim. App. 7 n.2. In short,

Montanez not only sued the right defendant but explained to the court his correct

reason for doing so. In arguing that Montanez has failed to name the right defendant

for his ADA claim, the Government Defendants simply ignore that Montanez named

Pennsylvania in his complaint.

       Montanez also brought claims against prison officials in their official capacity.

As the district court recognized, this too would have been sufficient even if he had not

named the Commonwealth in his complaint. App. 20. Naming the Commonwealth and

the prison officials in their official capacities was redundant. See, e.g., Davis v. New Jersey

Dep’t of Corr., No. 10-cv-6439, 2011 WL 5526081, at *10 (D. N.J. Nov. 14, 2011)

                                               2
          Case: 23-2669       Document: 46       Page: 6      Date Filed: 06/20/2024




(dismissing official capacity defendants in ADA claim as “redundant in this case because

such claims are equivalent to a claim against co-defendant the Department”). Montanez

therefore did more than he needed to by naming the correct defendant, the

Commonwealth of Pennsylvania, twice over.

    b) Montanez’s disability law claims were not based on medical malpractice.

       The Government Defendants argue that Montanez merely “alleged provision of

inadequate medical care,” which this Court in Iseley v. Beard held did not state a claim.

200 F. App’x 137, 141 (3d Cir. 2006). The plaintiff in Iseley brought both a constitutional

claim and a disability law claim when a prison failed to provide him hepatitis C

treatment. This Court held that the plaintiff had failed to allege that he was denied any

programs or services because of his disability but rather that he only alleged failure to

treat his disability.

       By contrast, Montanez listed several services to which he lacked meaningful

access. See Op. Br. 12–18. An unexhaustive list includes toileting; health care;1 sleeping;



1
  Although redundant to reach the outcome in this case, concluding that health care is
a “service” is both an easy conclusion of statutory interpretation and does not conflict
with the doctrine discussed below, which is that plaintiffs may not bring disability law
claims sounding in medical malpractice by seeking medical care as a proposed
accommodation for their disability. Yeskey, 524 U.S. at 210 (listing “medical services” as
services, programs or activities under the ADA); Georgia, 546 U.S. at 157 (listing
“medical care” as a prison service). Making a prisoner walk to and from his medical
appointments despite a serious injury, causing brutal pain, is not “medical malpractice,”
as it is distinct from any issues in the provision of medical care and an appropriate
accommodation would be humane transportation or the provision of a mobility aid,
not different medical treatment.

                                                3
           Case: 23-2669     Document: 46    Page: 7     Date Filed: 06/20/2024




mobility; hygiene; and meal service. Id. Montanez explained at length why those

constitute “services” of the prison in his opening brief and Defendants have provided

no response.

         This Court recently reversed a district court for making this same mistake on

behalf of the same defendant, the Commonwealth of Pennsylvania. In Furgess v.

Pennsylvania Department of Corrections, a prisoner with leg braces brought an ADA claim

alleging that he could not safely get in and out of a prison shower. 933 F.3d 285, 288

(3d Cir. 2019). The district court in Furgess deemed a shower not a “service” by relying

on the same authority cited in Iseley, the Seventh Circuit’s opinion in Bryant v. Madigan,

84 F.3d 246 (7th Cir. 1996). Id. The district court held that the failure to provide an

accessible shower was medical treatment, not a failure to accommodate disabilities. Id.

         This Court reversed. “[C]omplaints about not being provided an accessible

shower are not allegations of medical malpractice or disagreements about medical

treatment. They are requests for reasonable accommodations so that inmates with

disabilities can take a shower—just like able-bodied inmates” Id. at 291. Montanez’s

complaints about his failure to access a significant number of Defendants’ services

compel the same conclusion here.

   II.      The District Court Erred in Dismissing Montanez’s Eighth
            Amendment Claims.

         Montanez explained in his opening brief that his allegations supported the claim

that Medical Defendants were deliberately indifferent to his serious medical needs. Op.


                                             4
          Case: 23-2669     Document: 46     Page: 8     Date Filed: 06/20/2024




Br. 21–26. Medical Defendants’ response was conclusory: “Medical Appellees made

medical decisions and evinced medical results that dissatisfied him and he now seeks to

hold them liable based on his dissatisfaction.” Ans. Br. II 25. While “Montanez’s

disagreement over his course of treatment may be of personal concern to him,

disagreement and dissatisfaction are legally insufficient bases to state a claim for

deliberate indifference.” Id. They made no attempt to go defendant-by-defendant and

explain why this conclusion—that Montanez alleges mere good-faith medical

disagreement rather than a knowing disregard of serious medical needs—applies to

each.

        As explained in Montanez’s opening brief, a review of Montanez’s allegations,

some from the First Amended Complaint and more from his oppositions, demonstrate

that he alleged more than good-faith disagreement but a knowing disregard of serious

medical needs.

        - Nurse Wagman provided no medical treatment and laughed at Montanez for
          wanting to go to the hospital and forced him out of his wheelchair and made
          him crawl paralyzed into his filthy cell. App. 38.

        - Dr. Mahli asked Montanez to walk, watched him drag himself across the floor
          from outside his cell, heard that Montanez was urinating on himself, and then
          left without providing care. Id.

        - Dr. Preston denied him the proper pain medication, even after he fell and
          herniated a disc in his back. App. 39.

        - R. Ellers lied about the results of his X-ray and the existence of his herniated
          disc, which delayed his treatment for it. Id.



                                            5
          Case: 23-2669    Document: 46      Page: 9     Date Filed: 06/20/2024




      - Upon returning to SCI Huntington, Dr. Edwards refused to give him the pain
        medication that he needed and refused to provide an MRI to diagnose his
        back problems. App. 40.

      - Dr. Preston, Nurse Nalley, and Dr. Edwards continuously denied Montanez
        the physical therapy he needed in order to regain the ability to adequately
        walk. App 39–40, 55, 65, 71–72.

      Nowhere in Montanez’s initial allegations or his later elaboration is there the

slightest suggestion of disagreement as the proper course of medical treatment. As

Montanez explained in his opening brief, and the Defendants have not rebutted,

presuming good-faith medical disagreement in the face of allegations such as the above

would entirely obviate Estelle v. Gamble. 429 U.S. 97 (1976).

      To take a particularly striking example, Dr. Mahli left Montanez paralyzed on the

floor of his cell urinating on himself for three days. He came to Montanez’s cell door,

learned of the situation, refused to even step inside to examine him, and left him there.

Defendants argue that even taking every inference in favor of Montanez, this was

merely a good-faith dispute between Montanez’s preferred course of treatment (help)

and Dr. Mahli’s (doing nothing) that this Court must resolve in favor of Dr. Mahli

because of his medical expertise. Fortunately, the law does not support such a result.

See Op. Br. 25–26.

   III.   Even Were This Court to Agree with the District Court’s Conclusions,
          Montanez Should Be Given an Opportunity to Amend.

      Even if this Court holds that Montanez’s operative complaint fails to state claims

under the ADA and Eighth Amendment, the district court erred in failing to grant


                                            6
         Case: 23-2669       Document: 46       Page: 10    Date Filed: 06/20/2024




Montanez leave to amend. Montanez was required to fit his allegations into under four

handwritten pages. Op. Br. 27. Even if reading them to not state a claim on their own

is possible, reading them to not conceivably state a claim with more elaboration is not.

Op. Br. 26–28. In fact, Montanez did elaborate. Operating pro se and believing he had

more space, Montanez elaborated on those allegations in his oppositions to Defendants’

motions to dismiss. In so doing, he eliminated any ambiguity that he could state a claim

if given the ability to fully recite his allegations. Id.

       Both sets of Defendants devote considerable space to arguing that plaintiffs may

not amend their complaints through subsequent briefs opposing dismissal and

therefore that Montanez’s First Amended Complaint remains the operative pleading.

Ans. Br. I 14–16; Ans. Br. II 21–23. But they miss the point; Montanez never argued

otherwise. See Op. Br. 26–28. He argued that the oppositions demonstrated that

amendment was far from futile, not that they constituted valid amendments of the

operative complaint on their own. Id. Since the Government Defendants made no other

argument as to the futility of amendment, they have forfeited any. United States v. Dupree,

617 F.3d 724, 728 (3d Cir. 2010).

       The Medical Defendants add an additional tack, arguing that amendment would

be futile because “his additional allegations” are “merely his own suppositions and

conclusions about motives and intentions rather than facts, do not bolster any of his

claims, but rather demonstrate that the basis of his Amended Complaint is that he

disagrees with” Defendants’ failure to provide treatment. Ans. Br. II 27.

                                                7
        Case: 23-2669      Document: 46    Page: 11     Date Filed: 06/20/2024




      Even a cursory examination of the oppositions demonstrates otherwise. Some

examples: Montanez wrote that when Nurse Wagman first took him to his cell and

made him drag himself across the filthy floor, she yelled “Oh god! Stop faking it!” App.

90. He alleged that when Nurse Wagman and Dr. Mahli left him alone in his cell,

paralyzed and urinating on himself, he had to drag himself around the room and up to

the sink to wash his soiled clothing, falling and injuring himself multiple times. App.

50–51. At SCI-Rockville, Montanez told both a nurse and Dr. Preston that he was

paralyzed and could not access his toilet—the nurse “threw her hands up in the air”

and both staff the nurse and the physician told Montanez that he had to “do the best

he could” on his own. App. 54–55. At SCI-Huntington, he requested being placed on

medical bedrest or lay-in but staff instead moved him back to general population, where

he had to walk “up and down the long tiers,” which he still could not do “properly”

nor without considerable pain. App. 66–67. At the SCI-Smithfield infirmary, Montanez

told Dr. Roberts about “extreme” pain while sleeping and asked to be moved to a

hospital bed, and had Dr. Roberts ignore his request, deny him physical therapy, and

deny him pain medication stronger than Tylenol. App. 71–74. These allegations,

illustrative and not exhaustive of the oppositions’ content, are “facts.” They are not

“suppositions and conclusions about motives and intentions.” Nor, as discussed above

in Section II, do they so much as suggest good-faith medical disagreement rather than

deliberate indifference.




                                           8
         Case: 23-2669      Document: 46      Page: 12      Date Filed: 06/20/2024




       The Medical Defendants also argue that “Montanez has already been granted

leave to amend.” Ans. Br. II 27. This is true but misleading. Operating pro se, Montanez

moved to amend his complaint but the district court ruled that he had the ability to

amend his complaint by right pursuant to Fed. R. Civ. P. 15(a)(1)(B), not at the district

court’s discretion. Doc. No. 23. This amendment was largely to withdraw one defendant

and add another. Doc. No. 22. The amendment was not in response to any order from

the district court identifying problems in his complaint, meaning that Montanez never

received such an opportunity.

       Neither set of Defendants addresses or even mentions a further basis for

amendment, which is that Montanez was limited to under four pages of handwritten

allegations by the district court’s pro se form, all to cover multiple claims and a range of

different conduct by different defendants in different facilities.2 The district court itself

noted that “the Third Circuit Court of Appeals has admonished that when a complaint

is subject to dismissal for failure to state a claim, courts should liberally grant leave to

amend unless such an amendment would be inequitable or futile.” App. 29 (internal


2
  The Government Defendants see no issue with such a limitation but their counsel do
not constrain themselves to such terse allegations. See, e.g. Complaint, Connecticut et al. v.
Sandoz, Inc. et al., Docket No. 2:20-cv-03539 (E.D. Pa. Jul 20, 2020) (the Government
Defendants filing, along with co-complainants, a 606-page complaint). The district
court appears to have realized that less than four handwritten pages is insufficient to
state a well pleaded complaint as well. After Montanez’s claim was dismissed, court
revised its “Pro Se Prisoner Civil Complaint Packet” online so as to not contain a page
limit.      See       Pro      Se      Prisoner      Civil       Complaint          Packet,
https://www.pamd.uscourts.gov/sites/pamd/files/Pro%20Se%20Prisoner%20Civil
%20Complaint%20Packet%20-%204.1.24_1.pdf (revised Apr. 1, 2024).

                                              9
        Case: 23-2669      Document: 46     Page: 13       Date Filed: 06/20/2024




quotation marks omitted). After dismissing Montanez’s claim on incorrect legal grounds

when the court’s own form prevented him from fully presenting his allegations,

preventing amendment was the inequitable outcome, not permitting it. See, e.g., Harpo v.

U.S. Marshal Serv. Deputy Supervisor, No. 1:21-cv-4827, 2022 WL 22329121, at *2 (N.D.

Ga. Feb. 1, 2022) (rejecting a magistrate’s recommendation for dismissal when

plaintiff’s failure to state an element was “due to a lack of space in [the] pre-printed

complaint form,” ordering that he be permitted to amend instead) (internal quotation

marks omitted).

                                  CONCLUSION

      For the foregoing reasons, the district court decision should be reversed and the

case should be remanded.

June 20, 2024

                                          Respectfully submitted,

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                                            10
        Case: 23-2669    Document: 46     Page: 14     Date Filed: 06/20/2024




                      CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume, typeface, and type-style

requirements of Rule 32(a) of the Federal Rules of Appellate Procedure and Rule 32 of

the 3rd Circuit Rules. This brief contains 2,552 words, excluding the parts of the

document exempted by Fed. R. App. 32(f), as calculated in Version 15.26 of Microsoft

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                                                     Samuel Weiss
        Case: 23-2669     Document: 46      Page: 15     Date Filed: 06/20/2024




                          CERTIFICATE OF SERVICE


      I certify that on June 20, 2024, I electronically transmitted the foregoing brief to

the Clerk of the Court using the appellate CM/ECF System, causing it to be served on

counsel of record, who are all registered CM/ECF users.


                                                       /s/ Samuel Weiss
                                                       Samuel Weiss
